             USDC IN/ND case 2:17-cv-00033-GSL                                         document 16-1                  filed 03/02/17   page 1 of 2
        Suspended male Purdue student sues claiming sex bias
           Fatima Hussein , IndyStar     Published 11:27 a.m. ET Jan. 26, 2017 | Updated 6:17 p.m. ET Jan. 27, 2017



                                                 A male student filed a lawsuit this week against Purdue University, saying a sexual misconduct investigation
                                                 unfairly resulted in his suspension from the university and dismissal from the Navy ROTC program.


                                                 The unnamed student alleges that Purdue breached its contract, violated Title IX of the Education
                                                 Amendments of 1972, discriminated against him on the basis of his sex and denied him his Fourteenth
                                                 Amendment right to due process.


           (Photo: Getty Images/iStockphoto)     According to the 69­page complaint filed in the United States District Court for the Northern District of
                                                 Indiana Hammond Division, Purdue suspended the student based on allegations by an ex­girlfriend made
three months after they stopped dating.


Named defendants are Purdue University, its Board of Trustees and various administration and staff members.

The suit is the second sex discrimination case brought by a male student against a university in Indiana in less than a month — both related to the
universities' handling of sexual misconduct allegations.

In December, a former Indiana University student brought a defamation and discrimination action against the school after sexual assault charges
against him were dropped. He contends that IU gave preferential treatment to a female student who accused him of rape and makes "numerous
mandates to make it more difficult for males accused of sexual misconduct to defend themselves."
      Former IU student accused of rape sues school, accuser for defamation
        (http://www.indystar.com/story/news/2016/12/26/former­iu­student­accused­rape­
                          sues­school­accuser­defamation/95649160/)

In the Purdue case, the complaint states that the male student and his accuser dated from October to December 2015. The female student
alleged that during several nights when they slept together, the male student groped and fondled the woman while she was sleeping, without her
consent.

The complaint also states that he "chased her down a hallway" threatening to taser her. The two are named as John Doe and Jane Doe in the
complaint.


While he was not formally charged with a crime, the male student was suspended from school for one full year and expelled from the school's NROTC
program, according to the suit.


“This student’s hopes and dreams to serve his country as a Naval officer have been destroyed as the result of false accusations by an ex­girlfriend
and the Kafkaesque disciplinary process at Purdue University,” said Andrew Miltenberg, the student's lawyer from New York law firm Nesenoff &
Miltenberg. He is also represented by Philip Byler from the same firm.


Miltenberg, who has represented more than 100 accused male students at colleges and universities, said “the male gender bias that exists at Purdue
University and many college campuses across the country essentially assumes that accused male students are guilty until proven innocent.”


The school's administration begs to differ. Brian Zink, a Purdue spokesman, declined to talk about the specific case but defended the school's sexual
misconduct policy.


"These are often difficult matters to investigate and decide," Zink wrote to IndyStar. "But we are confident in our processes and believe they afford all
students with broad and appropriate protections, whether they are raising allegations of sexual misconduct or responding to them."


The lawsuit contends that Purdue's action was strongly influenced by a directive of the U.S. Department of Education’s Office for Civil Rights, which,
the lawsuit says "encourages male gender bias and violation of due process rights during sexual misconduct investigations."


According to the complaint, the U.S. Department of Education issued in 2011 what has become known as the "Dear Colleague" letter to every college
and university receiving federal funding, addressing their obligation under Title IX to respond to claims of sexual violence. The 19­page letter
contains directives on how schools should address sexual assault and misconduct to comply with Title IX. Among other things, the letter calls on
schools to use a "preponderance of the evidence" standard, over the more stringent “clear and convincing standard.”
As a result of that directive, said Byler, there has been a surge in universities mishandling investigations and wrongfully prosecuting male students for
           USDC IN/ND case 2:17-cv-00033-GSL                             document 16-1              filed 03/02/17           page 2 of 2
fear of losing federal funding. “Hundreds of male students are facing life­changing consequences for allegations that have not been proven and
crimes that have not been committed,” he said.


Miltenberg told IndyStar that he believes schools' risk management systems favor punishment of innocent male students for fear of backlash from
victim advocate rights groups.


Some question how the Trump administration will handle sexual assault cases.


During her Senate confirmation hearing for education secretary, Betsy DeVos said it would be premature to commit to upholding former President
Barack Obama’s Title IX guidance. When she said she wanted to know more about the issue, it set off alarms to sexual­assault activists.


Lauren Bernstein Klein, a trainer and development specialist at the Prevention Innovations Research Center at the University of New
Hampshire, said "it is important to remember that the campus conduct process (like a place of employment's human resource processes) are not the
same as courts or legal institutions." She added that most sexual assaults are never reported to authorities.


"The campus process has the goal of protecting the safety of the academic institution's environment," Klein told IndyStar. "The highest possible
consequence a university can exact is expulsion, which should indeed be under consideration for misconduct that cannot only harm an individual
person's academic success and well­being but the safety of the rest of the campus."


Recently, more male students accused of rape and sexual assault have sued the schools that suspended or expelled them. Much more recently, they
have become successful.

In July 2015, a California trial court judge ruled that the University of California San Diego must reverse the suspension of a male who allegedly
assaulted a female student. The student accused the school of violating his due process rights by presuming his guilt.

In February last year, a federal court ruled in favor of a George Mason University student who said he was treated unfairly during his case's appeal
process. In that case, the students engaged in sadomasochistic sex. The female student alleged that she told the male student she did not want to
continue, but he countered that she did not use the couple's safe word, "red."

Michael K. Sutherlin, an Indianapolis criminal law attorney, said the prevalence of these cases may come from schools not taking assault allegations
seriously enough from the onset.


"I would advise people not to take sides too early," he told IndyStar. Because more women are coming forward, he said, more men are coming to their
own defense.

Sutherlin says rape is not taken seriously in today's society.


Most sexual assaults — an estimated 63 percent — are never reported to the police, according to a 2012 report from the National Sexual Violence
Resource Center. A review of research finds that the prevalence of false reporting is between 2 and 10 percent, according to the study.

Call IndyStar reporter Fatima Hussein at (317) 444­6209. Follow her on Twitter: @fatimathefatima. (https://twitter.com/fatimathefatima)


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